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                EXHIBIT


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                           TERRENO CURE AMOUNTS




CLAWITER LEASE – Y889


     Charge                    Date               Current          Notes
     Code                                           Owed
     25555 Clawiter Road (pclawi01)
     YRC Inc. (lyrcin03)
     ins_bill                  7/31/2023         28,222.11         insurance bill increase
     b_rent                    8/1/2023          68,762.44         outstanding stub rent
     RE Tax                    11/6/2023         58,259.17         direct bill tax payment due
                                                                   HVAC replacement of units not properly
     HVAC                      11/6/2023     115,987.00
                                                                   maintained, requested April-23
                                                                   (approximate bid)
     Parking Lot R&M                                               Requested R&M from April-23 that
                               11/6/2023     102,326.00
                                                                   tenant has not addressed (approximate
     2023)                                                         bid)




Clawiter Total:            373,556.72




DELL LEASE – Y126


     Insurance reimbursement                                  11,691.60

     August base rent                                         69,712.03

     RE Tax                                                   38,790.32

     Repairs and Maintenance                                 203,264.37




Dell Total:       323,458.32
